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11

12
                             UNITED STATES BANKRUPTCY COURT
13
                                        DISTRICT OF NEVADA
14   In Re:                                               Case No.: 22-50366-hlb
                                                          Chapter 7
15
     SCOTT A. CORRIDAN,
16                                                        Adv. No. 23-05013-hlb
                              Debtor.
17

18
     EDWARD M. BURR, in his capacity as                   DISPUTED LIEN CLAIMANTS’ JOINT
19
     Chapter 7 Trustee for the bankruptcy estate of       OPPOSITION TO PLAINTIFF’S
20   SCOTT CORRIDAN,                                      MOTION FOR JUDGMENT ON THE
                               Plaintiff,                 PLEADINGS OR, IN THE
21        vs.                                             ALTERNATIVE, MOTION FOR
                                                          SUMMARY JUDGMENT AGAINST ALL
22
     STEVEN BALDWIN; TERRE BALDWIN;                       DEFENDANTS ON CLAIMS 1-4 AND 6,
23   BIG WATER INVESTMENTS, LLC, a                        AND REQUEST FOR COURT TO
     Nevada limited liability company; ROCK &             DIRECT ENTRY OF FINAL JUDGMENT
24
     ROSE, INC.; WOODBURN & WEDGE; and
25   KEVIN HOROWITZ, sole proprietor of ST.
     HELENA CONSTRUCTION COMPANY,                         Hearing Date: March 29, 2024
26
                                                          Hearing Tim: 1:30 p.m.
27                             Defendants.

28

                                                      1
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 1              Creditors and Defendants Steven and Terre Baldwin (collectively, “Baldwins”), Big
 2   Water Investments, LLC (“Big Water”), Kevin Horowitz, sole proprietor of St. Helena
 3   Construction Company (“Horowitz”), Rock & Rose, Inc. (“Rock”), and Woodburn and Wedge
 4   (“Woodburn” and together with Baldwin, Big Water, and Rock the “Disputed Lien Claimants”),
 5   through their undersigned counsel of record, file this Joint Opposition to Plaintiff’s Motion for
 6   Judgment on the Pleadings or, in the Alternative, Motion for Summary Judgment Against all
 7   Defendants on Claims 1-4 and 6, and Request for Court to Direct Entry of Final Judgement,
 8   initially filed on January 12, 2024, at Adv. ECF No. 20 (“MSJ” or “Motion”) and Plaintiff’s
 9   Statement Of Undisputed Facts In Support Of Trustee’s Motion for Judgment On The
10   Pleadings or, in The Alternative, Motion for Summary Judgment Against All Defendants on
11   Claims 1-4 And 6, And Request For Court To Direct Entry of Final Judgement, initially filed on
12   January 15, 2024, at Adv. ECF No. 21 (“SUDF”).1 This Joint Opposition is based upon the
13   following Memorandum of Points and Authorities, the Statement of Disputed Facts filed
14   concurrently herewith, and any oral argument that the Court permits at the scheduled hearing.2
15                         MEMORANDUM OF POINTS AND AUTHORITIES
16       I.     INTRODUCTION
17              Since 1965, the process of creating a lien by recording a judgment with the county

18   recorder pursuant to NRS 17.150 has remained largely unchanged. Subsection 2 of NRS 17.150

19   creates the lien, providing that “any judgment or decree of a district court of the State of Nevada

20   or the District Court or other court of the United States in and for the District of Nevada . . .

21   may be recorded in the office of the county recorder in any county, and when so recorded it

22   becomes a lien upon all the real property of the judgment debtor not exempt from execution in

23

24
     1
25    All References to “Bankruptcy Case” are to the underlying bankruptcy case of Scott A. Corridan, case
     no. 22-50366-HLB, all references to “BK ECF No.” and/or “BK DE” are to the docket entries in that
26   Bankruptcy Case and all references to “Adv. ECF No.” and/or “Adv. DE” are to docket entries in this
     adversary proceeding. All future references to “Code,” “Section,” and “§” are to the Bankruptcy Code,
27   Title 11 of the United States Code, unless otherwise indicated.

28   2
      This Joint Opposition is being refiled to replace Adv. ECF No. 37, per the Notice of Docketing Error
     entered at Adv. ECF No. 42.
                                                        2
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 1   that county, owned by the judgment debtor at the time, or which the judgment debtor may
 2   afterward acquire, until the lien expires.” See NRS 17.150(2). In 1995, the statute was amended
 3   at the request of title companies to add subsection 4, which requires Nevada judgment creditors
 4   to record an additional affidavit when recording the judgment setting forth certain information
 5   aimed at identifying the judgment debtor and his/her property (such as the judgment debtor’s
 6   name and address, and the APN of any real property owned by the judgment debtor). Neither
 7   the language of the statute itself, or its legislative history, indicate that the legislature intended
 8   to change the procedure by which a judgment lien is created or deprive a judgment creditor of a
 9   valid lien for failure to comply with the new informational affidavit requirement. Nor has any
10   Nevada appellate court ever made such a finding. In fact, the whole purpose of NRS 17.150(4),
11   ensuring liens attach to the proper judgment debtor’s property, has not been implicated in these
12   bankruptcy proceedings whatsoever.
13           Each of the disputed judgment liens at issue here (“Disputed Liens”) include the
14   judgment debtor’s name, Scott Corridan (“Debtor”), all but one identify the Debtor’s real
15   property in Washoe County by expressly including the APN number of the Debtor’s residence
16   located at 223 Pelton Lane, Incline Village, 89451 (“Pelton Lane Property”), and all of them
17   readily appeared on the title search performed in connection with the ultimate sale of the Pelton
18   Lane Property. No innocent third party with a name like the Debtor’s has been prejudiced here
19   by inadvertently having any of the Disputed Liens attach to the wrong property. But that has
20   not stopped the Trustee from expending considerable resources of the bankruptcy estate by
21   filing an adversary proceeding and bringing a 24-page motion for judgment on the
22   pleadings/summary judgment seeking to avoid hundreds of thousands of dollars of valid
23   judgment liens based on an incorrect reading of the statutory plain language and championing a
24   technicality that has caused no harm or prejudice. At its core, and despite the overwhelming
25   guidance to the contrary, the Trustee’s Motion pushes for unreasonably expansive reading of
26   NRS 17.150(4)’s informational affidavit requirement, exalting literalism for no practical
27   purpose other than to produce an absurd result.
28

                                                        3
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 1            The Disputed Lien Claimants respectfully request that the Court reject the Trustee’s
 2   position and put an end to this lien litigation by granting judgment in their favor as a matter of
 3   law.
 4    II.     RELEVANT MATERIAL FACTS
 5            A.      Baldwin – Judgment Lien and Affidavit Recorded August 1, 2019.

 6            On July 3, 2019, the Baldwins obtained a $76,138.66 judgment against Scott Corridan

 7   and his company Scott Corridan Design in the Placer County, California Superior Court (the

 8   “Baldwin California Judgment”). On July 31, 2019, the Baldwins commenced Case No. CV19-

 9   01502 in the Second Judicial District Court to domesticate the Baldwin California Judgment in

10   Nevada (“Baldwin Domestication Action”). In compliance with the Uniform Enforcement of

11   Judgments Act (NRS 17.330 to 17.550), the Baldwins filed several documents in the Baldwin

12   Domestication Action, including the following: (1) a Foreign Judgment [NRS 17.350] that

13   attached an exemplified copy of the Baldwin California Judgment—which became a Nevada

14   judgment upon its filing under NRS 17.350 (the “Baldwin Nevada Judgment”); and (2) an

15   Affidavit in Support of Filing Foreign Judgment [NRS 17.360] (the “Baldwin Affidavit in of

16   Judgment Creditor”). The next day, August 1, 2019, the Baldwins recorded both of these

17   documents in the Washoe County Recorder’s Office, as follows: (1) an exemplified copy of the

18   Baldwin Nevada Judgment was recorded as Doc # 4936398; and (2) a copy of the Baldwin

19   Affidavit in Support of Judmgent, retitled on the cover page as an Affidavit of Judgment

20   Creditor [NRS 17.150], was recorded as Doc #4936399 (the “Baldwin Affidavit of Judgment

21   Creditor”).

22            The recorded copy of the Baldwin Nevada Judgment reflects the following information:

23                The name of the Judgment Creditors, Steven Baldwin and Terre Baldwin.

24                The name of the Judgment Debtor, Scott Corridan.

25                The address and phone number of the Judgment Debtor’s California and Nevada

26                 counsel.

27                The APN # 130-163-23 of the Pelton Lane Property owned by the Judgment Debtor

28                 in Washoe County (the Property at issue in this litigation).

                                                        4
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 1                 The Case Numbers in both relevant courts (Placer County, California and Washoe
 2                  County, Nevada).
 3             In addition to the above information, the face of the recorded Baldwin Affidavit of
 4   Judgment Creditor reflects the following information, made under sworn statement:
 5                 The name and last known addresses of the Judgment Debtor. Included in these
 6                  addresses is the Pelton Lane Property at issue in this litigation, reflected as follows:
 7                  “(Residence Address: 223 Pelton Lane, Incline Village, NV 89451”.
 8                 The APN of the Pelton Lane Property, reflected as follows: “Washoe APN# 130-
 9                  163-23”.
10                 The name and address of the Judgment Creditors’ and Judgment Debtor’s attorneys.
11             Based on the above facts, the Baldwins filed a Proof of Claim in the Debtor’s
12   bankruptcy case asserting a secured claim against the Pelton Lane Property in the amount of
13   $103,355.66 as of the Petition Date. See POC 10-2 (filed 10/18/2022); and POC 29-1 (filed
14   8/9/2023).3
15             B.      Big Water – Judgment Lien Recorded December 16, 2019.
16             The dispute between Big Water and Corridan involves Corridan’s August 20, 2019,
17   improper recording of 18 mechanic’s liens against a condominium project owned by Big Water
18   (allegedly related to design services provided by Corridan). After Corridan recorded the
19   mechanic’s liens, Big Water moved for an Order to Show Cause why they shouldn’t be
20   released. The Court held a hearing and ultimately found Corridan did not have mechanic’s lien
21   rights under the relevant statute and ordered the liens expunged. The court also found the liens
22   were frivolously filed and ultimately awarded Big Water its attorney’s fees and costs under
23   NRS 108.2275 and NRS 18.010(2)(b). The court entered its Order Granting Motion for
24   Attorney’s Fees under NRS 108.2275 on December 12, 2019, awarding Big Water $16,858.23
25   in attorney’s fees and costs, plus post-judgment interest at the legal rate (the “Big Water
26

27

28
     3
         The Proof of Claim Deadline was August 25, 2023, thus both Claims 10-2 and 29-1 were timely.
                                                          5
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 1   Judgment”). The Big Water Judgment was recorded in the Washoe County Recorder’s Office
 2   on December 16, 2019, as Doc # 4982828.
 3          The recorded copy of the Big Water Judgment reflects the following information:
 4              The name of the Judgment Creditor, Big Water Investments, LLC
 5              The name of the Judgment Debtor, Scott Corridan, individually and dba Scott
 6               Corridan Design.
 7              The APN of the Pelton Lane Property owned by the Judgment Debtor in Washoe
 8               County (the Property at issue in this litigation), reflected as follows: “APNS: 130-
 9               163-23”.
10              The address and phone number of the Judgment Creditor’s counsel.
11          Based on the above facts, Big Water filed a Proof of Claim in the Debtor’s bankruptcy
12   case asserting a secured claim against the Pelton Lane Property in the amount of $20,908.02 as
13   of the Petition Date. See POC 32-1.
14          C.      Rock & Rose, Inc. – Judgment Lien recorded February 11, 2020.
15          On October 3, 2019, 2022, Rock commenced Case No. CV19-01920 in the Second
16   Judicial District Court against Corridan for unpaid landscaping work done on Corridan’s
17   house—the very property at dispute in this litigation. On December 19, 2019, the state court
18   entered a default judgment against Corridan. The Rock Judgment recorded in the Washoe
19   County Recorder’s Office on February 11, 2020, as Doc # 4999922.
20          The recorded copy of the Horowitz Nevada Judgment reflects the following:
21              The name of the Judgment Creditor, Rock.
22              The name and address of the counsel and firm representing Rock.
23              The name of the Judgment Debtor, both as Scott Corridan and dba Scott Corridan
24               Design. Additionally, as Mr. Corridan was not represented by counsel, he serves as
25               his own counsel.
26              The APN # 130-163-23 of real property owned by the Judgment Debtor in Washoe
27               County (the Property at issue in this litigation).
28              The Case Number for the court in Washoe County, Nevada.

                                                       6
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 1          Based on the above facts, Rock filed a Proof of Claim in the Debtor’s bankruptcy case
 2   asserting a secured claim against the Pelton Lane Property in the amount of $56,678.54 as of the
 3   Petition Date. See POC 15.
 4          D.      Woodburn and Wedge – Judgment Lien recorded March 31, 2020.
 5          Woodburn is an acknowledged creditor in this bankruptcy case. Debtor’s Sch. D, ECF
 6   27, Section 2.12. The Debtor incurred pre-petition legal fees to Woodburn unrelated to this
 7   bankruptcy case. Due to non-payment, Woodburn obtained an “Order Establishing Attorney’s
 8   Lien; Judgment” from the Second Judicial District Court. See Exhibit 2 to Woodburn’s
 9   Amended Proof of Claim, No. 13-2, which was issued by the District Court on March 22, 2020.
10          Woodburn caused the judgment to be recorded against the Debtor’s real property in the
11   official records of Washoe County on March 31, 2020. The recorded version of Woodburn’s
12   judgment contains the entire Order issued by the District Court, along with the required
13   affirmation statement. The recorded copy of the Woodburn Judgment reflects the following:
14              The name of the Judgment Creditor Shawn B. Meador of Woodburn and Wedge.
15              The address of the Judgment Creditor (which undoubtedly was unnecessary given
16               his former representation of the Judgment Debtor immediately prior to obtaining the
17               judgment).
18              Multiple, clear and obvious references to the judgement debtor, Scott Alan Corridan,
19               the relevant case number and Court from which the judgment was issued, and the
20               amount of the judgment.
21          Based on the above facts, Woodburn filed a Proof of claim in the Debtor’s bankruptcy
22   case asserting a secured claim in the amount of $40,212.35, $36,712.65 of which is secured
23   against the Debtor’s real property. See POC 13-2.
24          E.      Horowitz – Judgment Lien recorded June 22, 2022.
25          On September 28, 2021, Horowitz obtained a Default Judgment Against Defendant Scott
26   A. Corridan, in the Napa County, California Superior Court (the “Horowitz California
27   Judgment”).
28

                                                     7
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 1          On June 8, 2022, Horowitz commenced Case No. CV22-00906 in the Second Judicial
 2   District Court to domesticate the Horowitz California Judgment in Nevada (“Horowitz
 3   Domestication Action”). In complying with Uniform Enforcement of Judgments Act (NRS
 4   17.330 to 17.500), Horowitz filed several documents in the Horowitz Domestication Action,
 5   including the following: (1) a Foreign Judgment [NRS 17.350] attaching an exemplified copy
 6   of the Horowitz California Judgment—which became a Nevada judgment upon its filing under
 7   NRS 17.350 (the “Horowitz Nevada Judgment”); and (2) an Affidavit in Support of Filing
 8   Foreign Judgment [NRS 17.360] (the “Horowitz Affidavit in Support of Judgment”).
 9   The Horowitz Nevada Judgment was recorded in the Washoe County Recorder’s Office on
10   June 29, 2022, as Doc # 5314943.
11          The recorded copy of the Horowitz Nevada Judgment reflects the following:
12              The name of the Judgment Creditor, Kevin Horowitz, Sole Proprietor of St. Helena
13               Construction Company.
14              The addresses and phone numbers of the Judgment Debtor’s California and Nevada
15               counsel.
16              The name of the Judgment Debtor, reflected as both Scott Corridan, an individual
17               and Scott A. Corridan.
18              The APN of the Pelton Lane Property, reflected as follows: “APNS: 130-163-23”.
19              The Case Numbers in both relevant courts (Napa County, California and Washoe
20               County, Nevada).
21          Based on the above facts, Horowitz filed a Proof of Claim in the Debtor’s bankruptcy
22   case asserting a secured claim against the Pelton Lane Property in the amount of $387,813.49 as
23   of the Petition Date. See POC 31-2.
24
            F.      The Title Search.
25          Stewart Title prepared a title commitment in connection with the Trustee’s sale of the
26   Pelton Lane Property (the “Stewart Title Report”), which was attached as an to the Order
27   Granting Amended Motion to Sell Property Free and Clear of Liens, Claims, and Interests [223
28

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 1   Pelton Lane, Incline Village, Nevada] and Pay Real Estate Commissions, entered on September
 2   12, 2023, at ECF No. 264 (“Sale Order”), and is attached hereto as Exhibit “1”.4
 3              The Stewart Title Report confirms no confusion has ever existed as to whether the
 4   Disputed Lien Claimant’s judgment liens attached to the Debtor’s Pelton Lane Property. For
 5   example, the Baldwin Nevada Judgment and Baldwin Affidavit of Judgment Creditor appear on
 6   the Stewart Title Report:
 7       18. Judgment in favor of Steven Baldwin and Terre Baldwin against Scott Corridan, in the amount of
             $76,138.66 plus court cost & interest, entered on July 31, 2019 as Case Number CV19-01502
 8           and recorded August 1, 2019 as instrument number 4936398, in Washoe County.
             and amended on recorded August 1, 2019 as instrument number 4936399, in Washoe County.
 9
     As did the Big Water Judgment:
10
         20. The requirement that payment in full per demand and a release to follow or at close is required for a
11           certified copy of a Judgment in the amount of $16,858.23 plus interest, costs, attorney fees and any
             other amounts due from Scott Corridan, individually and dba Scott Corridan Design, as Debtor, in
12           favor of Big Water Investments, LLC, a Nevada limited liability company, as Creditor, in Washoe
             County of the Second Judicial District Court of the State of Nevada in and for the County of
13           Washoe, as Case No. CV19-01689, recorded December 16, 2019 as Document No. 4982828,
             Official Records of Washoe County, Nevada.
14
     And the Rock Judgment:
15       21. The requirement that payment in full per demand and a release to follow or at close is required for a
             certified copy of a Judgment in the amount of $38,338.47 plus interest, costs, attorney fees and any
16           other amounts due from Scott Corridan dba Scott Corridan Design, as Debtor, in favor of Rock &
             Rose, Inc, as Creditor, in Washoe County of the Second Judicial District Court of the State of
17           Nevada in and for the County of Washoe, as Case No. CV19-01920, recorded February 11, 2020
             as Document No. 4999922, Official Records of Washoe County, Nevada.
18
     And the Woodburn Judgment:
19
         22. The requirement that payment in full per demand and a release to follow or at close is required for a
20           certified copy of a Judgment in the amount of $63,497.11 plus interest, costs, attorney fees and any
             other amounts due from Scott ALan Corridan, as Debtor, in favor of Russell Clifford Corridan, as
21           Creditor, in Washoe County of the Family Division of the Second Judicial District Court of the State
             of Nevada in and for the County of Washoe, as Case No. DV18-01651, recorded March 31, 2020 as
22           Document No. 5015679, Official Records of Washoe County, Nevada.

23   And the Horowitz Nevada Judgment:
         26. Judgment in favor of Kevin Horowitz, Sole Properietor of St. Helena Construction Company
24           against Scott A. Corridan, in the amount of $321,107.00 plus court cost & interest, entered on
             June 8, 2022 as Case Number CV22-00906 and recorded June 29, 2022 as instrument number
25           5314943, in Washoe County.
26

27

28   4
      As set out in the Sale Order, all disputed judgment liens attached to the proceeds of the sale in the order
     of their priority. See Sale Order at 3:25–4:11; 4:15-25; 6:17–7:10; 9:9–10:15.
                                                            9
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     See attached Exhibit “1”, ECF No. 264 (Sale Order at Exhibit 2, pages 35-36 of .pdf).
 1
            In fact, as a condition of closing the escrow, Stewart Title required all of the Disputed
 2
     Lien Claimants to submit their lien payoff statements as a condition of closing escrow with title
 3
     free and clear of these judgment liens—further evidencing the lack of any confusion
 4
     surrounding the identity of the judgment debtor or the real property affected.
 5
            Despite the fact that all of the Disputed Lien Claimants’ respective recorded judgment
 6
     liens identified the Judgment Creditor, Judgment Debtor, all but one expressly identified the
 7
     Judgment Debtor’s real property in Washoe County by its APN, and all appeared as a matter of
 8
     public record as encumbering the Pelton Lane Property as of the Petition Date as indicated by
 9
     the Stewart Title Report—the Trustee asserts the Disputed Judgment Liens can be avoided as a
10
     matter of law. The Trustee is mistaken.
11
     III.   LEGAL STANDARD
12
            A motion for judgment on the pleadings is governed by Fed. R. Civ. P. 12(c), made
13
     applicable in this adversary proceeding under Fed. R. Bankr. P. 7012. See Best v. Nationstar
14
     Mortg. LLC (In re Best), 540 B.R. 1, 7 (B.A.P. 1st Cir. 2015). “The principal difference
15
     between motions filed pursuant to Rule 12(b) and Rule 12(c) is the time of filing. Because the
16
     motions are functionally identical, the same standard of review is applicable to a Rule 12(b)
17
     motion applies to its Rule 12(c) analog.” See Dworkin v. Hustler Magazine, Inc., 867 F.2d
18
     1188, 1192 (9th Cir. 1989). In reviewing the motion, the Court must accept as true all facts
19
     alleged in the complaint and draw all reasonable inferences in favor of the plaintiff. Navarro v.
20
     Block, 250 F.3d 729, 732 (9th Cir. 2001). However, in the Rule 12(c) context, the Court may
21
     look beyond the Complaint and also examine “the undisputed factual record expanded by the
22
     defendant's answer to determine the merits of the claims as revealed in the formal pleadings."
23
     See Best, 540 B.R. at 7. And when reviewing the pleadings, the Court need not accept
24
     conclusory allegations as true or consider legal characterizations cast in the form of factual
25
     allegations. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555-56 (2007). “Factual allegations
26
     must be enough to rise above the speculative level.” Id. at 555.
27

28

                                                     10
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 1          “The standard of review for a summary judgment motion is set forth in Rule 56 of the
 2   Federal Rules of Civil Procedure which is applicable to this proceeding under Bankruptcy Rule
 3   7056.” In re Art Shirt, Ltd., 44 B.R. 523, 525 (Bankr. E.D. Pa. 1984). “[T]he court shall grant
 4   summary judgment if the movant shows that there is no genuine dispute as to any material fact
 5   and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The Court
 6   must determine “whether, with the evidence viewed in the light most favorable to the non-
 7   moving party, there are no genuine issues of material fact, so that the moving party is entitled to
 8   a judgment as a matter of law.” See San Diego Police Officers' Ass'n v. San Diego City Emples.
 9   Ret. Sys., 568 F.3d 725, 733 (9th Cir. 2009). A genuine issue of material fact only exists when
10   the evidence is such that a reasonable jury could return a verdict for the nonmoving party.
11   Caneva v. Sun Communities Operating Ltd., 550 F.3d 755, 761 (9th Cir. 2008) (internal
12   citations omitted). The party moving for summary judgment must initially identify those
13   portions of the pleadings and other documents on file, together with the affidavits, if any, which
14   it believes demonstrate the absence of a genuine issue of material fact. Id. Once the moving
15   party meets its burden, the non-moving party must set out specific facts showing a genuine issue
16   for trial. Id. Further, “[u]nder Rule 56, the Court, upon motion by one party for summary
17   judgment [also] has the power to grant summary judgment against the moving party and in
18   favor of the non-moving party, although the latter has not filed a cross-motion for summary
19   judgment.” See In re Calder, 94 B.R. 200, 203 (D. Utah 1988).
20   IV.    LEGAL ARGUMENT
21          A.      The Disputed Lien Claimants each held a valid judgment lien against the
                    Pelton Lane Property on the Petition Date.
22
            It is undeniable that each of the Disputed Lien Claimants obtained a valid judgment
23
     against the Debtor and recorded that judgment in the Washoe County Recorder’s Office before
24
     the Debtor filed bankruptcy on July 12, 2022 (“Petition Date”). Nevertheless, the Trustee
25
     attacked the Disputed Lien Claimants for failure to record an informational affidavit under NRS
26
     17.150(4)—that the Trustee incorrectly asserts is a prerequisite to obtaining a valid judgment
27
     lien in Nevada. The Trustee’s assault on the Disputed Lien Claimants is not based on the plain
28

                                                     11
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 1   language of the statute—as the statute has no mention that recording such an affidavit is a
 2   condition precedent for creation of a lien. Nor is it based on the statute’s legislative history or
 3   purpose—which is to eliminate the occasion when title companies might experience some
 4   confusion when closing a transaction because two people have the same name, only one of
 5   whom is a judgment debtor. Nor does the Trustee cite case law (published or unpublished)
 6   holding that recording an informational affidavit under NRS 17.150(4) is a prerequisite to
 7   creation of a valid judgment lien. And it is not based on pragmatism either—as the essential
 8   information the NRS 17.150(4) affidavit is aimed at capturing (i.e., identification of the
 9   judgment debtor’s relevant property in the county) is present on the face of the documents
10   recorded by the Disputed Lien Claimants at issue here, all of which contain both the Debtor’s
11   name and the correct APN of the Pelton Lane Property.
12          The simple truth is that all these things—the plain language of the statute, its legislative
13   history and purpose, case law, and pragmatic reality—counsel against the Trustee’s position in
14   this litigation and support the conclusion that the Disputed Liens at issue are valid judgment
15   liens as a matter of law.
16                  1. The plain language of the statute establishes that recording a NRS
17                     17.150(4) informational affidavit is not a condition precedent to creating
                       a valid judgment lien under NRS 17.150(2).
18
            The Trustee incorrectly asserts, without any supporting case law authority, that a NRS
19
     17.150 judgment lien “may only be created after recording of a judgment . . . and the
20
     contemporaneous recording of an affidavit of judgement [sic] containing the information
21
     required in 17.150(4)(a)-(d) . . . .” See MSJ at 10:5-8 (emphasis added). The Trustee’s
22
     position on this point contradicts the plain language of the statute. See, e.g., Washoe Med. Ctr.
23
     v. Second Judicial Dist. Court, 122 Nev. 1298, 1302, 148 P.3d 790, 792-93 (2006) (“When a
24
     statute is clear on its face, [the Nevada Supreme Court] will not look beyond the statute’s plain
25
     language”).
26
            To be clear, it is subsection 2 of NRS 17.150 that creates the judgment lien—and, so
27
     long as the judgment has not been stayed on appeal or satisfied, that subsection creates a lien on
28
     the judgment debtor’s real property in that county immediately upon the recording of a certified
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 1   copy of the judgment in the county recorder’s office. As applicable here, NRS 17.150(2)
 2   provides:
 3                      2. A transcript of the original docket or an abstract or copy of
 4                  any judgment or decree of a district court of the State of Nevada
                    or the District Court or other court of the United States in and for
 5                  the District of Nevada, the enforcement of which has not been
                    stayed on appeal, certified by the clerk of the court where the
 6                  judgment or decree was rendered, may be recorded in the office
                    of the county recorder in any county, and when so recorded it
 7
                    becomes a lien upon all the real property of the judgment debtor
 8                  not exempt from execution in that county, owned by the
                    judgment debtor at the time, or which the judgment debtor may
 9                  afterward acquire, until the lien expires. The lien continues for 6
                    years after the date the judgment or decree was docketed, and is
10                  continued each time the judgment or decree is renewed, unless:
                         (a) The enforcement of the judgment or decree is stayed on
11
                    appeal by the execution of a sufficient undertaking as provided in
12                  the Nevada Rules of Appellate Procedure or by the Statutes of the
                    United States, in which case the lien of the judgment or decree and
13                  any lien by virtue of an attachment that has been issued and levied
                    in the actions ceases;
14                       (b) The judgment is for arrearages in the payment of child
                    support, in which case the lien continues until the judgment is
15
                    satisfied;
16                      (c) The judgment is satisfied; or
                        (d) The lien is otherwise discharged.
17                   The time during which the execution of the judgment is
                    suspended by appeal, action of the court or defendant must not be
18                  counted in computing the time of expiration.
19   See NRS 17.150(2) (emphasis added). The plain language of NRS 17.150(2) unmistakably
20   establishes that the judgment creditor must record a certified copy of the judgment in the county
21   recorder’s office “and when so recorded it becomes a lien upon all the real property of the
22   judgment debtor not exempt from execution in that county.” Id. (emphasis added). The
23   reality is NRS 17.150(4)’s informational affidavit is not at all tied to creation of the judgement
24   lien, is in no way a condition precedent to creation of a valid judgment lien, and there is no
25   penalty in the statute if the judgment creditor does not record it.
26          What the statutory language certainly does not say that a judgment lien fails or is
27   rendered invalid if the judgment creditor does not record the additional NRS 17.150(4)
28   affidavit. If that was what the Nevada legislature intended, it certainly could have stated exactly
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 1   that in the statutory text—but it did not. And it is not as if though there was no place in the
 2   statute to create such condition precedent—as NRS 17.150(2)(a)-(d) each set forth various
 3   events that, the occurrence of any one of which, will affect the creation and/or enforceability of
 4   the judgment lien. For example, NRS 17.150(2)(a) recognizes that recording the judgment does
 5   not create a valid lien if the judgment is stayed on appeal; while NRS 17.150(2)(b) establishes
 6   different treatment for child support judgments; and NRS 17.150(2)(c) and (2)(d) respectively
 7   establish that recording the judgment only create a lien to the extent the judgment has not been
 8   satisfied or otherwise discharged. Notably, the failure to file an informational affidavit under
 9   NRS 17.150(4) is not included in the statute’s explicit enumeration in NRS 17.150(2)(a)-(d) of
10   the particular events that affect the creation and enforceability of judgment liens. Neither does
11   NRS 17.150(4) itself contain language tying the validity of the judgment lien to the recording of
12   the informational affidavit. Under general rules of statutory construction, the listing of certain
13   specified events that affect the creation and enforceability of the judgment lien exclude all
14   others not listed therein. See generally, Coast Hotels & Casinos, Inc. v. Nev. State Labor
15   Comm'n, 117 Nev. 835, 841, 34 P.3d 546, 550 (2001) (“Generally, when the legislature has
16   employed a term or phrase in one place and excluded it in another, it should not be implied
17   where excluded.”).
18          The Trustee’s position that recording a NRS 17.150(4) affidavit is a prerequisite to the
19   creation of a valid Nevada judgment lien is further belied by the language and structure of
20   statutory heading to NRS 17.150, which (like the statutory framework itself) separates the
21   concepts of creation of the judgment lien upon recording under NRS 17.150(2) and NRS
22   17.150(4)’s separate informational affidavit requirement. The statutory heading reads:
23   “Docketing of judgments of state and federal courts; recording of transcripts, abstracts and
24   copies of judgments; liens on real property; duration of liens; affidavit required of judgment
25   creditor who records judgment or decree.” See NRS 17.150 (emphasis added). The text of
26   the heading itself confirms that creating a valid judgment lien on real property is a distinctly
27   separate concept disconnected from NRS 17.150(4)’s informational affidavit.
28

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 1             The Disputed Lien Claimants submit that a straightforward reading of the statute leads
 2   to an unambiguous conclusion: a judgment lien is created upon recording a judgment under
 3   NRS 17.150(2) and is neither conditioned upon, nor affected by, the recording or failure to
 4   record an informational affidavit under NRS 17.150(4).
 5                     2. The Legislative History does not support the Trustee’s position.
 6             NRS 17.150 was enacted in 1965 and, other than a few minor amendments, went largely

 7   unchanged for nearly thirty years.5 In 1967, the statute was amended to add subsection 3, which

 8   describes what must be in the abstract of judgment required to be recorded under subsection 2 to

 9   create the lien. See 1967 Statutes of Nevada, page 949 (passed by way of S.B. 357). The statue

10   was amended again in 1969 to make a minor textual change to subsection 2, confirming that a

11   transcript of the original docket could also be recorded to create a lien. See 1967 Statutes of

12   Nevada, page 42 (passed by way of S.B. 115). The statute was next amended in 1989 to make

13   technical language corrections. See 1989 Statutes of Nevada, page 586 (passed by way of S.B.

14   142). In 1993, the legislature amended the statute to make additional technical language

15   corrections and add the child support related language now found in NRS 17.150(2)(b). See

16   1993 Statutes of Nevada, pages 541-42 (added by way of A.B. 492). In 1995, the legislature

17   added the informational affidavit requirement now found in NRS 17.150(4), which is the

18   relevant amendment here and is discussed in detail below. Since the 1995 amendment at issue,

19   the statute has been amended twice, both affecting NRS 17.150(4). First in 2007, to require

20   only the last four of any social security number. See 2007 Statutes of Nevada, page 1315

21   (enacted by way of A.B. 600). The statute was last amended in 2011 to revise the information

22   required in the informational affidavit. See 2011 Statutes of Nevada, page 2409 (enacted by

23   way of S.B. 186).

24             The Trustee claims that by enacting S.B. 455 in 1995, the Nevada legislature intended to

25   modify the long-established process set out in NRS 17.150(2) required to create a valid Nevada

26   judgment lien, to make the additional informational affidavit requirement found in NRS

27

28
     5
         The statute is rooted in Section 332 of the Nevada Civil Practice Act of 1911.
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 1   17.150(4) a condition precedent to the creation of the lien. See MSJ at p. 16:17 – 22. But
 2   nowhere in the language of NRS 17.150(4), S.B. 455, the 1995 senate committee hearing
 3   minutes cited by the Trustee, or the legislative history of the two subsequent statutory
 4   amendments, does it appear the legislature intended to condition the creation of a valid
 5   judgment lien on the recording of a NRS 17.150(4) informational affidavit. In fact, the
 6   legislative history, when read in its entirety, indicates the exact opposite.
 7          For example, in 1995, the senate judiciary committee originally discussed placing the
 8   informational affidavit requirement now contained in NRS 17.150(4) in an entirely different
 9   chapter of the Nevada Revised Statutes. The initial thought was to place the affidavit language
10   in Chapter 247 of the NRS—alongside changes codifying the common law principle that
11   purchase-money deeds of trust have priority over judgment liens. See Exhibit “2”,
12   Consolidated History S.B. 455, 1995 at p. 8 (Section 36 of Bill Summary indicating amendment
13   was to be to Chapter 247 of NRS). The relevant language was ultimately moved to NRS
14   17.150(4) to avoid confusion as to whether the informational affidavit also applied to deeds of
15   trust—not because the legislature intended to add an additional condition to the creation of
16   a judgment lien, which was never even discussed. The relevant discussion is indicated in the
17   1995 Senate Judiciary Committee minutes as follows:
18                  Section 36 brings a provision to include more identifying
19                  information about judgment debtors, when recording judgment
                    liens, Mr. Cook continued. There is a proposed amendment,
20                  because it is more appropriate to place the provision under
                    NRS 17.150. As it is currently written, he explained, the
21                  provision could potentially affect deeds of trust, which is not
                    the intent.
22

23                  Ms. Johnson noted the reason for the additional identifying
                    information is because identical names come up frequently. With
24                  the addition of a social security number, the misidentifications will
                    be greatly reduced, she opined.
25
     See Exhibit “2”, Consolidated History S.B. 455, 1995 at p. 13 (at page 11 of Minutes of the
26
     Senate Committee on Judiciary, May 23, 1995) (emphasis added). The committee briefly
27
     described the identical name issue being a somewhat minor concern, and certainly did not
28
     describe the issue as so important that it required conditioning the creation of a judgment lien
                                                       16
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 1   upon compliance with this new informational affidavit requirement passed at the behest of the
 2   title company lobby. See id. If this new affidavit requirement truly established a new condition
 3   to the very creation of a valid judgment lien, it is unlikely (at best) that the legislature would
 4   have ever initially considered placing the affidavit requirement somewhere in NRS Chapter
 5   247. See id.
 6          NRS 17.150(4)’s informational affidavit was never aimed at providing judgment debtors
 7   (or bankruptcy trustees) with a sword to avoid execution on lawful judgments—rather, it was
 8   intended to better inform others conducting title searches, and to avoid situations, for example,
 9   where it appears a judgment lien exists on the estate of a deceased “John Smith” when the
10   judgment was really against a different John Smith. This purpose was plainly set out in the
11   1995 legislative history minutes: “Ms. Johnson noted the reason for the additional identifying
12   information is because identical names come up frequently. With the addition of a social
13   security number the misidentifications will be greatly reduced, she opined.” See Exhibit “2”,
14   Consolidated History S.B. 455, 1995 at p. 13 (at page 11 of Minutes of the Senate Committee on
15   Judiciary, May 23, 1995)
16          The 2011 legislative history further confirms the entire purpose of the NRS 17.150(4)
17   affidavit is to “tie” a judgment to a particular parcel of property by identifying both the affected
18   judgment debtor and the affected real property. For example, the bill’s sponsor, County
19   Recorder Lora E. Myles stated, “[p]eople obtain judgments and do not tie them to real property
20   or mobile homes. As a result, when the mobile home or real property is foreclosed upon or sold,
21   those judgments are not satisfied because they are not tied to the property. They are tied to a
22   person's name. Regarding section 1 of the bill, we are asking if a judgment is filed with a county
23   recorder's office, information on the real property or mobile home be included in a cover sheet
24   with a copy of the judgment from the court. This makes it clear the property is subject to a lien.”
25   See Exhibit “3”, Senate Committee on Judiciary, Minutes, March 2, 2011 (page 11-12). What
26   the Bill’s sponsors never requested, or even discussed, was that the informational affidavit
27   requirement be a condition to lien creation—which has always been a function of NRS
28   17.150(2)—not subsection 4 of the statute that discusses the informational affidavit. In fact, as

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 1   part of the 2011 amendment, the legislature notably added the following language in blue to the
 2   first sentence of NRS 17.150(4), confirming the judgment lien is created pursuant to subsection
 3   2 of NRS 17.150 upon recording of the judgment lien itself:
 4                   [A] In addition to recording the information described in
 5                   subsection 2, a judgment creditor who records a judgment or
 6                   decree for the purpose of creating a lien upon the real property

 7                   of the judgment debtor pursuant to subsection 2 shall record at
                     that time an affidavit of judgment stating: . . . .
 8

 9   See 2011 Statutes of Nevada, page 2409) Chapter 388, SB 186).6

10             Despite the clear statutory purpose indicated in the legislative history, the Trustee

11   contends that the legislature must have intended compliance with NRS 17.150(4) to be a

12   prerequisite for creation of a judgment lien under NRS 17.150(2), or else NRS 17.150(4) would

13   be meaningless. But the mere fact that the statute imposes no penalty for a violation of NRS

14   17.150(4) does not render its affidavit requirement meaningless or superfluous. What the

15   Trustee fails to address is that the legislature intended for the affidavit language in NRS

16   17.150(4) to be directory in nature. See Argument, Section IV(A)(3), infra.

17             In any event, the Trustee’s position has been rejected by multiple courts that have faced

18   the issue. For example, the Nevada Court of Appeals addressed the issue, albeit in an

19   unpublished order, in Secured Holdings, Inc. v. Eighth Judicial Dist. Court of Nev., 2017 Nev.

20   App. Unpub. LEXIS 468, *2-3, 2017 WL 3013065 (Nev. App. 2017) (attached as Exhibit “4”)

21   The writ petitioner in Secured Holdings made the same argument the Trustee makes here—that

22   the recorded judgment at issue failed to create a lien because the judgment creditor never

23   recorded the affidavit required by NRS 17.150(4). See id. The Nevada Court of Appeals

24   persuasively examined NRS 17.150(4)’s affidavit requirement and found that “while the statute

25   requires an affidavit to be filed, the affidavit is not a condition precedent to the creation of a

26

27

28   6
         Available at: https://www.leg.state.nv.us/Statutes/76th2011/Stats201120.html#Stats201120page2409

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 1   valid lien and the statute does not provide that the lien is invalid if the affidavit is not filed.”
 2   See id. (emphasis added).
 3           The Nevada District Court also recently addressed the issue in Sphere, LLC v. Pawnee
 4   Leasing Corp., 2023 U.S. Dist. LEXIS 207350, 2023 WL 8018293, Case No. 3:23-cv-00176-
 5   MMD-CBL (D. Nev. Nov. 17, 2023) (attached as Exhibit “5”). In that case, Sphere argued that
 6   “Pawnee did not establish a valid lien [when it recorded its judgment], because it failed to
 7   record an additional affidavit of judgment mandated under section 17.150(4) with information
 8   required to ‘put the world on notice of the identity of the judgment debtor and the property that
 9   is the subject of the lien.’” Id. at *5. In ruling on the issue, Judge Du found the plain language
10   of the statute supported Pawnee’s position that recording the judgment lien created the lien,
11   finding the statute “on its face . . . suggests that a judgment creates a lien the moment it is
12   recorded.” Id. at *8. Judge Du went further, reasoning that the subsection (2) of NRS 17.150
13   expressly recognizes that the lien applies “not just to a debtor’s presently-owned real property
14   but to property ‘afterward acquire[d]’ by the debtor.” And, “because real property acquired in
15   the future by definition is not yet identifiable by parcel number and address, it is not clear why
16   any lien’s initial validity must depend upon the recording of this information under subsection
17   4(c) for the purpose of notice, as Sphere argues.” Id. Judge Du ultimately concluded “the state
18   high court would interpret NRS § 17.150 to indicate that a judgment becomes a valid lien when
19   it is recorded under subsection (2), and that recording an affidavit of judgment under subsection
20   (4), while mandatory, is not a condition precedent to the creation of a valid lien.” Id. at **12-
21   13. Thus, the very nature of a judgment lien as both a current and forward-looking enforcement
22   mechanism— affecting the judgment debtor’s after-acquired property in the county of
23   recordation, which cannot be described at the time of lien recordation—dismantles the Trustee’s
24   position.
25           The existing case law on the subject cuts against the Trustee’s position and the Trustee
26   fails to cogently elucidate exactly how the legislative intent of preventing confusion among
27   judgment debtors with similar names is realized by invalidating the Disputed Liens at issue in
28   this case—where absolutely no risk of confusion is present. It would produce an absurd an

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 1   unreasonable result to hold that many otherwise valid judgment liens are void, a most severe
 2   sanction, because they failed to be accompanied by an affidavit designed to address a much less
 3   severe problem—the infrequent potential for misidentification of judgment debtors and their
 4   property. The Disputed Lien Claimants submit that the legislative history and context of the
 5   committee discussion surrounding it counsel that the validity of a Nevada judgment lien is in no
 6   way affected by the NRS 17.150(4) informational affidavit.
 7
                    3. The Disputed Lien Claimants have substantially complied with the
 8                     informational requirements of NRS 17.150(4).

 9          The Disputed Lien Claimants maintain that the NRS 17.150(4) affidavit has no effect on

10   the validity (or invalidity) of a recorded judgment lien. But even if it did, the Disputed Lien

11   Claimants here have substantially complied with the statute.

12          When addressing the level of statutory compliance required there are two choices: strict

13   compliance or substantial compliance. In deciding which applies, the Nevada Supreme Court

14   looks to the statutory language and considers policy and equity principles. See Markowitz v.

15   Saxon Special Servicing, 129 Nev. 660, 664, 310 P.3d 569, 572 (2013). “Generally, a rule is

16   mandatory and requires strict compliance when its language states a specific ‘time and manner’

17   for performance.” Id. (citation omitted). “Time and manner refers to when performance must

18   take place and the way in which the deadline must be met.” Id. (citations omitted). “‘Form and

19   content’ provisions, on the other hand, dictate who must take action and what information the

20   party is required to provide.” Id. (citation omitted). “When a party accomplishes such actual

21   compliance as to matters of substance, technical deviations from form requirements do not rise

22   to the level of noncompliance.” Id. (citation omitted). “[T]he purpose of the substantial-

23   compliance rule is to identify a factual situation in a case whereby the reasonable purpose of the

24   statute is met by the offending party's actions without requiring technical compliance with the

25   statutory language.” See Schleining v. Cap One, Inc., 130 Nev. 323, 331, 326 P.3d 4, 9 (2014)

26   (citation and internal quotation omitted). But make no mistake, even “strict compliance does

27   not mean absurd compliance.” See Einhorn v. BAC Home Loans Servicing, LB, 128 Nev. 689,

28   696, 290 P.3d 249, 254 (2012); see also 2A Norman J. Singer & J.D. Shambie Singer, Statutes

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 1   and Statutory Construction § 46:2, at 162 (7th ed. 2007) (“Statutes should be read sensibly
 2   rather than literally and controlling legislative intent should be presumed to be consonant with
 3   reason and good discretion.”).7
 4          The Trustee argues that because NRS 17.150(4) states that the additional informational
 5   affidavit ‘shall’ be filed, strict adherence is required. See MSJ at p. 19:5 – 16. The “[u]se of the
 6   word ‘shall’ usually, but not always, makes the action mandatory.” See Village League to Save
 7   Incline Assets, Inc. v. State ex rel. Bd. of Equalization, 124 Nev. 1079, 1088, 194 P.3d 1254,
 8   1260 (2008). In Village League the Nevada Supreme Court confirmed that some statutory
 9   commands are ‘directory’ rather than ‘mandatory’ despite using commands such as ‘shall,’ and
10   “[i]n determining whether a statute is mandatory or directory, [the Nevada Supreme Court] will
11   look to the statutory scheme, as well as policy and equity considerations”. Id. at 1087, 194
12   P.3d 1260 (citing Leven v. Frey, 123 Nev. 399, 406, 168 P.3d 712, 717 (2007)) (internal
13   quotation omitted). Stated another way, form and content provisions are generally directory in
14   nature—and do not require strict compliance. As stated in Markowitz, “[b]ecause they do not
15   implicate notice, form and content-based rules are typically directory and may be satisfied by
16   substantial compliance, sufficient to avoid harsh, unfair, or absurd consequences.” Id. (citation
17   and internal quotation omitted). Markowitz, 129 Nev. at 664, 310 P.3d at 572 (citation omitted).
18   “When any requirement of statute is held to be directory, and therefore not material to be
19   followed, it is upon the assumption that the legislature itself so considered it, and did not intend
20   to make the right conferred dependent upon a compliance with the form prescribed for securing
21

22

23

24   7
      The quote and cites on this point are taken from Hesser v. Kennedy Funding, 2022 Nev. Unpub. LEXIS
25   103 at *3, 2022 WL 354504, NV. S. Ct. Case No. 81383 (NV. S. Ct., Feb. 4, 2022). In Hesser, the
     Nevada Supreme Court rejected a strict interpretation of NRS 17.214’s service requirement when the
26   judgment renewal was both recorded and served prior to expiration of the original judgment, stating:

27                  Thus, unlike in Leven where the judgment had expired, a creditor
                    conducting a title search would have seen there was an unexpired lien on
28                  the property. As such, the purpose of procuring reliable title searches is
                    not affected in the circumstances presented here.
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 1   it. It is upon this principle that the courts often hold the time designated in a statute, where a
 2   thing is to be done, to be directory.” Corbett v. Bradley, 7 Nev. 106, 108 (1871).
 3          The Trustee acknowledges that the substantial compliance standard recognizes
 4   reasonable performance is adequate, even absent technical compliance, when the purpose of
 5   the statute is served and requiring strict compliance would lead to an absurd result. See
 6   generally MSJ at 17:19– 18:11 (emphasis added). Nevertheless, the Trustee asserts the
 7   substantial compliance standard does not apply because NRS 17.150(4) is a ‘time and manner’
 8   provision. Citing Leven v. Frey, supra, the Trustee compares the NRS 17.150(4) affidavit
 9   requirement to the three-day ‘time and manner’ requirements to record and serve a judgment
10   renewal after its filing under NRS 17.214(1)(b), asserting that the strict compliance required
11   under NRS 17.214(1)(b) is similarly required for NRS 17.150(4).
12          In Leven, the Nevada Supreme Court compared NRS 17.214 with NRS 17.150(2),
13   emphasizing why strict compliance with ‘time and manner’ requirements is generally required.
14   In so doing, the Leven court stated, “NRS 17.150(2) creates a lien on a debtor's real property in
15   a particular county when a judgment is recorded in that county.” Notably absent from Leven is
16   any mention that a NRS 17.150(4) informational affidavit is also required to create a lien on a
17   debtor’s real property. Id. In fact, Leven court flatly stated, “NRS 17.150(2) creates a lien on a
18   debtor's real property in a particular county when a judgment is recorded in that county; this lien
19   remains in place for six years from the date that the judgment was docketed and continues
20   automatically each time the judgment is renewed.” Leven, 123 Nev. at 403, 168 P.3d at 715
21   (citation and internal quotation omitted). But even if Leven does not conclusively establish that
22   a judgment lien is created immediately upon the recording of the judgment pursuant to NRS
23   17.150(2), the slate is not completely bare on how Nevada courts may approach the issue before
24   this Court. As set out above, the Nevada Court of Appeals and federal District Court have come
25   to the same persuasive conclusion—the judgment lien is perfected upon its recording and its
26   validity is not dependent on recording the NRS 17.150(4) affidavit. See Sphere, LLC v. Pawnee
27   Leasing Corp., 2023 U.S. Dist. LEXIS 207350, 2023 WL 8018293, Case No. 3:23-cv-00176-
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 1   MMD-CBL (D. Nev. Nov. 17, 2023); see also Secured Holdings, Inc. v. Eighth Judicial Dist.
 2   Court of Nev., 2017 Nev. App. Unpub. LEXIS 468, 2017 WL 3013065 (Nev. App. 2017).
 3          Unlike the core issue in Leven, the NRS 17.150(4) issue before this Court does not
 4   involve notice. In fact, the heart of the Trustee’s assertions here concern NRS 17.150(4)’s ‘time
 5   and manner’ provisions—form in the sense that an affidavit is the chosen form; and content
 6   because NRS 17.150(4) guides what details to include the said affidavit. See e.g. Leven, 123
 7   Nev. at 403, 168 P.3d at 715. And, as set out in Section II above, each of the Disputed Lien
 8   Claimants substantially complied with the statutory purpose of NRS 17.150(4) by, among other
 9   things, expressly including the Pelton Lane Property’s APN and other information that is
10   patently sufficient to satisfy the purpose of the NRS 17.150(4) affidavit—which is to identify
11   the correct judgment debtor by tying real property owned in the county to the judgment debtor.
12   Thus, even if recording the NRS 17.150(4) informational affidavit was somehow a condition
13   precedent to creation of a Nevada judgment lien, the relevant statutory provisions are ‘form and
14   content’ based directives that the Disputed Lien Claimants substantially complied with by
15   identifying the Debtor and tying the recorded judgment to the Property by way of the APN.
16          The purpose of NRS 17.150(4) has been met—there can be no confusion that the
17   Disputed Judgment Liens at issue here related to both the Debtor and the Pelton Lane Property.
18   Simply put, substantial compliance exists because the “purpose of the statute can be adequately
19   served in a manner other than by technical compliance.” See, e.g., Bolden v. State, 137 Nev.
20   Adv. Rep. 28, 499 P.3d 1200, 1205 (2021) (holding unsworn declaration satisfied statutory
21   affidavit requirement) (citation, ellipses, and internal quotation omitted).
22    V.    CONCLUSION.
23          The Trustee does not appear to be motivated by concern for those the NRS 17.150(4)

24   affidavit aims to protect, but instead is advancing this technical argument to eliminate legitimate

25   secured creditors. And while the Disputed Lien Claimants suspect this has more to do with the

26   potential administrative insolvency of this case, it is nevertheless clear that the Trustee’s

27   position “exalts literalism for no practical purpose” and must be rejected. See Einhorn v. BAC

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 1   Home Loans Servicing, LP, 128 Nev. 689, 697, 290 P.3d 249, 254 (2012).
 2          DATED: February 20, 2024.
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 3

 4
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 6                                            Water Investments, LLC, and Kevin Horowitz, sole
 7                                            proprietor of St. Helena Construction Company

 8
      KAEMPFER CROWELL                        WOODBURN AND WEDGE
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